     Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 1 of 8



                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:18-CV-329
                                       §
 65.791 ACRES OF LAND, MORE OR         §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND THE ROMAN         §
 CATHOLIC DIOCESE OF                   §
 BROWNSVILLE, TEXAS, ACTING BY         §
 AND THROUGH ITS BISHOP, THE           §
 MOST REVEREND DANIEL E. FLORES, §
 AS BISHOP OF THE ROMAN CATHOLIC §
 DIOCESE OF BROWNSVILLE, AND FOR §
 HIS SUCCESSORS IN OFFICE, ET AL.,     §
                                       §
                    Defendants.        §
______________________________________________________________________________

                    UNITED STATES OF AMERICA’S REPLY
    IN SUPPORT OF ITS MOTION FOR ORDER OF IMMEDIATE POSSESSION
______________________________________________________________________________


       Plaintiff United States of America respectfully submits this Reply in Support of its Motion

for Order of Immediate Possession (Doc. 10). In its Supplemental Brief in Opposition (Doc. 26),

Defendant Roman Catholic Diocese of Brownsville (“Defendant” or the “Diocese”) reiterates its

defenses and objections as alleged in United States v. 26.000 Acres of Land, More or Less, Situate

in Hidalgo County, State of Texas, and the Pharr Oratory of St. Philip Neri of Pontifical Rite, a

Texas Non Profit Corporation; Civil Cause No. 7:18-cv-303 (“Pharr”), (Doc. 12); Plaintiff

reasserts its responses to Defendant’s defenses and objections in Pharr (Doc. 20). Additionally,

Defendant’s Supplemental Brief in Opposition (Doc. 26) admits that the government acquisition—

a temporary easement to conduct surveying and site assessment—and possession in this case can


                                                1
         Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 2 of 8



occur pursuant to the Declaration of Taking “without imposing a substantial burden on the

Diocese’s exercise of its religious beliefs.” Doc. 26 at 7. Rather, Defendant describes the historical

and religious significance of its property as well as its opposition to the government project in

general, neither of which are a defense to the taking or grounds to deny the government’s motion

for immediate possession. Accordingly, the Court should grant the United States’ Motion for

Order of Immediate Possession so the government may proceed with surveying and site assessment

to determine the best course for securing the United States/Mexico border in this location.

                                            ARGUMENT

    I.       Defendant Concedes that the Taking will not Violate RFRA.

          The Religious Freedom Restoration Act (“RFRA”) provides persons certain protections

from government actions that substantially burden the exercise of religion. 42 U.S.C. 2000bb-

1(b). RFRA only applies, however, where the government action compels a person to act or refrain

from acting in a manner that “substantially burdens” their exercise of religion. Henderson v.

Kennedy, 253 F.3d 12, 16 (D.C. Cir. 2001) (“Given these representations, plaintiffs cannot claim

that the regulation forces them to engage in conduct that their religion forbids or that it prevents

them from engaging in conduct their religion requires.”); Weir v. Nix, 114 F.3d 817, 820 (8th Cir.

1997) (“In order to be considered a ‘substantial’ burden, the government action must ‘significantly

inhibit or constrain conduct or expression that manifests some central tenet of a [person’s]

individual [religious] beliefs; must meaningfully curtail a [person’s] ability to express adherence

to his or her faith; or must deny a [person] reasonable opportunities to engage in those activities

that are fundamental to a [person’s] religion.’”) (citations omitted); see also Doc. 26 at 6 (“As the

Supreme Court has held, RFRA provides protections against government efforts to compel

religious individuals and entities to participate in activities that are contrary to their sincerely held



                                                   2
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 3 of 8



beliefs, where that compulsion results in a substantial burden on religious exercise.”) (emphasis

added).

          Here, the Diocese readily admits that in the instant taking of a temporary easement (1) “no

affirmative action will be required of the Diocese if the Court grants the Motion for Immediate

Possession” and (2) the Court may grant the motion for possession “without imposing a substantial

burden on the Diocese’s exercise of its religious beliefs.” Doc. 29 at 6-7. Rather, the Diocese

argues that it cannot consent to possession. Doc. 26 at 7. Consent to the transfer of possession is

not required under the Declaration of Taking Act, however, 40 U.S.C. § 3114(d) (“On the filing

of a declaration of taking, the court . . . may fix the time within which, and the terms on which, the

parties in possession shall be required to surrender possession to the petitioner[.]”), nor will the

Court’s granting of the motion compel Defendant’s consent. Defendant therefore concedes that

the taking of the temporary easement in this case does not violate RFRA, and the Court should

grant the government’s motion for possession as a result.

   II.       Defendant’s Objection to the Government Project on Religious Grounds is not a
             Defense to the Taking.

          The only permitted challenges to a taking are (1) whether the acquisition was authorized

by Congress (2) for a public purpose. United States v. 162.20 Acres of Land, 639 F.2d 299, 303

(5th Cir. 1981) (“The sole defense which may be raised against the condemnation itself is that of

lack of authority to take in the petitioner.”); see also Berman v. Parker, 348 U.S. 26, 32-33, 35

(1954) (“[T]he legislature, not the judiciary, is the main guardian of the public needs to be served

by social legislation . . . . This principle admits of no exception merely because the power of

eminent domain is involved.”) (concluding that public purpose is determined based on the project

as a whole, not parcel by parcel).




                                                   3
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 4 of 8



           The Diocese does not challenge the authority for the taking as set forth in Schedule A of

the Declaration of Taking or that securing the border is a public purpose. 1 Defendant’s stated

objection is that the “proposed border wall is fundamentally inconsistent with Catholic values.”

Doc. 26 at 2.       In other words, Defendant objects to the government project itself, not its

authorization, and such an objection is not a valid defense to the taking. Defendant’s remedy

instead lies with the legislature, which authorized the project. Defendant has not raised a valid

defense to the taking or transfer of possession, and the Court should grant Plaintiff’s Motion for

Immediate Possession.

    III.      Defendant’s Objection to a Future, Permanent Taking is not Ripe.

           The Diocese’s second assertion relates to an anticipated, permanent acquisition, arguing

that if the proposed border infrastructure is completed, it will substantially burden its exercise of

religion. Doc. 26 at 2. However, a challenge to a future condemnation is not ripe for adjudication.

Chacon v. Granata, 515 F.2d 922, 924-25 (5th Cir. 1975), cert. denied, 423 U.S. 930 (1975)

(holding that a challenge to government action as the first step in an anticipated condemnation was

not ripe “without some diminution in the owner’s rights of use”). A preliminary challenge is not

ripe because “[u]ntil taking, the condemnor may discontinue or abandon his effort.” Danforth v.

United States, 308 U.S. 271, 284 (1939).

           As Defendant admits, the government has not finalized the nature of any permanent

acquisition or how the Diocese may be accommodated; in fact, that is a primary purpose of the

temporary easement acquired in this case. Doc. 26 at 5 (“[T]he Government has not provided any

official confirmation of its plans.); id. (“It has not yet been decided how the La Lomita chapel will

be accommodated.”) (citing statement by U.S. Customs and Border Protection); id. (“CBP has


1
 Declaration of Bishop Daniel E. Flores ¶ 6 (“I recognize that the United States has the right to protect its
sovereignty by reasonable means and to secure its borders; this is recognized in Catholic teaching.”)

                                                      4
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 5 of 8



represented in other informal conversations with community members that La Lomita will not be

removed, and that there will be a gate in the border wall to allow access [to] the chapel . . . .”); id.

at 10 (“[T]he Government has informally indicated that it might allow access to La Lomita through

a gate in the border wall”). If and when the government seeks to acquire a permanent interest in

Defendant’s property, the United States will consult with Defendant regarding the Diocese’s

needs. At this early planning stage, however, it is impossible to determine the full nature of the

acquisition that may be required for the project, and Defendant’s challenge is premature.

    IV.      Even if Defendant’s Challenge to a Permanent Taking is Ripe, RFRA is not a
             Defense to Federal Eminent Domain.

          Eminent domain is an innate right of the sovereign, limited only by the Fifth Amendment

requirement that just compensation be paid or as otherwise constricted by the legislature. United

States v. Carmack, 329 U.S. 230, 236-37 (1946) (“The power of eminent domain is essential to a

sovereign government. If the United States has determined its need for certain land for a public

use that is within its federal sovereign powers, it must have the right to appropriate that land.”);

Albert Hanson Lumber Co. v. United States, 261 U.S. 581, 587 (1923) (“The power of eminent

domain is not dependent upon any specific grant; it is an attribute of sovereignty, limited and

conditioned by the just compensation clause of the Fifth Amendment.”); Bauman v. Ross, 167 U.S.

548, 574 (1897) (“The right of eminent domain . . . ‘is the offspring of political necessity, and is

inseparable from sovereignty unless denied to it by its fundamental law.’”). Neither the First

Amendment nor RFRA supersede this inherent right. See e.g. Prater v. City of Burnside, 289 F.3d

417, 428 (6th Cir. 2002) (“The Free Exercise Clause . . . does not entitle a religious organization

to special benefits. . . . Accordingly, the City’s refusal to abandon the dedicated public roadway

in favor of the Church did not, in and of itself, burden the Church’s rights under the Free Exercise

Clause.”); see also United States v. Petty Motor Co., 327 U.S. 372, 376 (1946) (holding that


                                                   5
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 6 of 8



condemnation proceedings are in rem, not in personam). Congress has the power to limit the

sovereign right of eminent domain to protect individual rights, but it declined to do so in RFRA.

There are no cases upholding a challenge to federal condemnation on RFRA grounds.

        Defendant cites only Yonkers Racing Corp. v. City of Yonkers, 858 F.2d 855 (2d Cir. 1988),

in which the City of Yonkers sought to condemn property owned by St. Joseph’s Seminary and

College pursuant to New York eminent domain law and a consent decree with the U.S. Department

of Housing and Urban Development. 2 The Seminary challenged the taking under the First

Amendment, arguing that the acquisition was not necessary for the project given alternative sites.

Id. at 870. Unlike federal eminent domain, where the necessity of the taking of a specific tract is

not subject to judicial review, Berman v. Parker, 348 U.S. at 36 (“It is not for the courts to oversee

the choice of the boundary line nor to sit in review on the size of a particular project area. Once

the question of the public purpose has been decided, the amount and character of land to be taken

for the project and the need for a particular tract to complete the integrated plan rests in the

discretion of the legislative branch.”), the consent decree in Yonkers limited the use of eminent

domain to instances where “necessary.” Yonkers Racing Corp., 858 F.2d at 859. Yonkers is further

distinguishable because unlike acquisitions for a housing project, acquisitions to secure the United

States/Mexico border must by their very nature be in close proximity to that border—the realm of

alternative sites is severely and inherently limited.




2
 The court’s decision in Yonkers Racing Corp. v. City of Yonkers, 858 F.2d 855 (2d Cir. 1988) predates
RFRA.

                                                   6
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 7 of 8



   V.      Defendant alleges the legal description for Tract RGV-RGC-2217 in Schedule C
           of the Declaration of Taking (Doc. 2 at 15) is incorrect because the description
           erroneously references Deed #2011-2219429, recorded on July 1, 2011, in the Deed
           Records of Hidalgo County.

   Tract RGV-RGC-2217 is 61.01 acres of vacant brush land, adjacent to the Juan Diego

Academy, depicted in Schedule D (Doc. 2 at 22). The legal description for Tract RGV-RGC-2217

is compiled from two warranty deeds: Document No. 1999-814019 and Document No. 2011-

2219429 (Doc. 2 at 15-20). Reference to both deeds is necessary to clearly identify Tract RGV-

RGC-2217 as 61.01 acres of land owned by Defendant that Plaintiff needs to access for survey and

site assessment. Reference to Document No. 1999-814019 is required to identify the larger

100.900 acre parcel, encompassing Tract RGV-RGC-2217, which was conveyed to the Diocese in

1999. In 2011, the Diocese conveyed 39.89 acres of the larger 100.900 acre parcel to the Juan

Diego Academy; thus, reference to Document No. 2011-2219429 is required to identify the

acreage excepted from Plaintiff’s temporary easement. Thus, Plaintiff has only taken, and is only

requesting immediate possession of, a temporary easement over and across 61.01 acres owned by

Defendant, identified as Tract RGV-RGC-2217.           Therefore, Defendant’s objections to the

erroneous reference to Document No. 2011-2219429 in the legal description for Tract RGV-RGC-

2217 should be overruled.

                                         CONCLUSION

        Defendant’s objections to the transfer of possession and the government project generally

are not valid defenses to a taking as a matter of law, and the Court should grant the United States’

Motion for Order of Immediate Possession.




                                                 7
      Case 7:18-cv-00329 Document 29 Filed in TXSD on 01/07/19 Page 8 of 8



                                                     Respectfully submitted,

                                                     RYAN K. PATRICK
                                                     United States Attorney
                                                     Southern District of Texas

                                             By:     s/ John A. Smith, III_________________
                                                     JOHN A. SMITH, III
                                                     Assistant United States Attorney
                                                     Southern District of Texas No. 8638
                                                     Texas Bar No. 18627450
                                                     One Shoreline Plaza
                                                     North Shoreline Blvd., Suite 500
                                                     Corpus Christi, Texas 78401
                                                     Telephone: (361) 888-3111
                                                     Facsimile: (361) 888-3234
                                                     E-mail: jsmith112@usdoj.gov
                                                     Attorney in Charge for Plaintiff

                                                     and

                                                     MEGAN EYES
                                                     Assistant United States Attorney
                                                     Southern District of Texas No. 3135118
                                                     Florida Bar No. 0105888
                                                     1701 W. Bus. Hwy. 83, Suite 600
                                                     McAllen, TX 78526
                                                     Telephone: (956) 618-8010
                                                     Facsimile: (956) 618-8016
                                                     E-mail: Megan.Eyes@usdoj.gov
                                                     Attorney for Plaintiff


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served via regular mail on
January 7, 2019, to all parties listed in Schedule G of the Declaration of Taking (Dkt. No. 2).


                                             By:     s/ John A. Smith, III_________________
                                                     JOHN A. SMITH, III
                                                     Assistant United States Attorney




                                                 8
